1700 G Street NW, Washington, D.C. 20552




April 8, 2024

VIA CM/ECF

Lyle W. Cayce, Clerk of Court
United States Court of Appeals for the Fifth Circuit
Office of the Clerk
F. Edward Herbert Building
600 S. Maestri Place
New Orleans, LA 70130

Re: Chamber of Commerce of the United States, et al. v. Consumer Financial
    Protection Bureau, No. 24-10248
    Letter Pursuant to Fed. R. App. P. 28(j)

Dear Mr. Cayce:

      We write in light of the mandamus opinions in In re Chamber of Commerce,
No. 24-10266 (Apr. 5, 2024), to correct factual misunderstandings underlying the
determination that the district court effectively denied Plaintiffs’ preliminary
injunction motion—an issue relevant to this appeal, too.

       First, the panel majority states that “[t]o comply with the Final Rule,” issuers
needed to send “disclosure materials about the late fees … by March 29.” Op. at 7.
This is not correct, nor do Plaintiffs even claim it. Rather, they say they need to
send change notices by March 29 if they want to increase other fees starting May
14. See ECF No. 5 at 12, No. 24-10266. The Rule does not require that. See ECF
No. 56 at 10. The Bureau therefore respectfully submits that, as Judge Higginson
noted, the mandamus opinion’s determination that there was an effective denial
rests on a “factually flawed premise.” Op. at 24.




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       Second, the panel majority states that the Bureau “does not contradict the
Chamber’s summary of … what the Final Rule requires credit card issuers to do by
the effective date.” Op. at 9. That is incorrect. The Bureau has explained why
Plaintiffs’ summary is mistaken. See ECF No. 56 at 9–12.

       Third, the Court accepted Plaintiffs’ assertion that it “typically takes 4
months” to print new disclosures. Op. at 7. No competent evidence supports that
assertion. See ECF No. 56 at 11. Although Plaintiffs included three declarations
from affected issuers, none attested they couldn’t prepare new documents by the
effective date. See App.150-App.151, App.190-App.192, App.202-App.204.

       Finally, the panel majority stated that so prompt a ruling was necessary to
“preserve the opportunity for effective permanent relief.” Op. at 7. Again, not so.
The only thing issuers need to do before the effective date is start printing updated
disclosures for new accounts. Plaintiffs need not be spared those de minimis
printing costs for the permanent relief they seek—reinstatement of the old rule
allowing higher late fees under the safe harbor—to be effective.

                                             Respectfully submitted,

                                             /s/ Stephanie B. Garlock
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cc:   Counsel of Record (via CM/ECF)




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